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                                        DEFENDANT'S EXHIBIT N
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                                            DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
Case 3:21-cv-00518-SMY Document 108-1 Filed 01/09/23 Page 4 of 130 Page ID #1347
                                         DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                     DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                 DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                     DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
Case 3:21-cv-00518-SMY Document 108-1 Filed 01/09/23 Page 15 of 130 Page ID #1358
                                         DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                   DEFENDANT'S EXHIBIT N
Case 3:21-cv-00518-SMY Document 108-1 Filed 01/09/23 Page 30 of 130 Page ID #1373
                                          DEFENDANT'S EXHIBIT N
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                                  DEFENDANT'S EXHIBIT N
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                                    DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                            DEFENDANT'S EXHIBIT N
ase 3:21-cv-00518-SMY Document 108-1 Filed 01/09/23 Page 37 of 130 Page ID #138
                                       DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                  DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                           DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                           DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
Case 3:21-cv-00518-SMY Document 108-1 Filed 01/09/23 Page 52 of 130 Page ID #1395
                                          DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                           DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                    DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                           DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                  DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                   DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                   DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                  DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                    DEFENDANT'S EXHIBIT N
Case 3:21-cv-00518-SMY Document 108-1 Filed 01/09/23 Page 88 of 130 Page ID #1431
                                         DEFENDANT'S EXHIBIT N
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                                  DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                         DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                             DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                     DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                            DEFENDANT'S EXHIBIT N
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                                           DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                           DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
Case 3:21-cv-00518-SMY Document 108-1 Filed 01/09/23 Page 110 of 130 Page ID #1453
                                           DEFENDANT'S EXHIBIT N
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                                           DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                        DEFENDANT'S EXHIBIT N
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                                           DEFENDANT'S EXHIBIT N
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                                    DEFENDANT'S EXHIBIT N
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                                    DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                       DEFENDANT'S EXHIBIT N
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                                 DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                      DEFENDANT'S EXHIBIT N
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                                          DEFENDANT'S EXHIBIT N
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                                            DEFENDANT'S EXHIBIT N
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                                           DEFENDANT'S EXHIBIT N
